Case 1:16-cr-20897-PAS Document 209 Entered on FLSD Docket 11/03/2020 Page 1 of 1




                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                          CASE NO. 16-CR-20897-SEITZ

  UNITED STATES OF AMERICA,

  v.

  PRINCESS CRUISE LINES, LTD.,

        Defendant.
  __________________________________/

              ORDER RE: JANUARY 2021 STATUS CONFERENCE

        THIS MATTER came before the Court sua sponte. Due to scheduling

  conflicts, pursuant to the agreement between the Parties, the Court Appointed

  Monitor and the Third Party Auditor, the status conference currently set for

  January 13, 2021 by the Court’s January 9, 2020 Order (DE 174), will instead be

  held on January 27, 2021. It is therefore

        ORDERED that:

        1.     The status conference scheduled for January 13, 2021 is hereby reset.

        2.     The next status conference in this case is set for Wednesday,

  January 27, 2021 at 2 pm.

        DONE AND ORDERED in Miami, Florida, this 3rd day of November 2020.


                                         ________________________________
                                         PATRICIA A. SEITZ
                                         UNITED STATES DISTRICT JUDGE

  cc:   All counsel of record
